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 4
                                 UNITED STATES DISTRICT COURT
 5                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 6
     _______________________________________
 7                                          )
     In re: Subpoena to Jimmy Nguyen.       )
 8                                          )
     _______________________________________)
 9                                          )
     IRA KLEIMAN, et al.,                   )
10                                          )                   Case No. MC20-0026RSL
                               Plaintiffs,  )
11                v.                        )
                                            )                   ORDER
12   CRAIG WRIGHT,                          )
                                            )
13                             Defendant.   )
     _______________________________________)
14
15           On April 6, 2020, plaintiffs filed a motion to compel Jimmy Nguyen to comply with two
16   third-party subpoenas. Mr. Nguyen has filed his opposition to the motion. In light of the
17   contested nature of this proceeding, the Clerk of Court is directed to assign a civil action
18   number.
19
20           Dated this 21st day of April, 2020.
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22
                                                   A
                                                   Robert S. Lasnik
23                                                 United States District Judge
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26


     ORDER
